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 LOWENSTEIN SANDLER LLP
 Kenneth A. Rosen, Esq.
 Mary E. Seymour, Esq.
 Michael Savetsky, Esq.
 Michael Papandrea, Esq.
 One Lowenstein Drive
 Roseland, New Jersey 07068
 (973) 597-2500 (Telephone)
 (973) 597-2400 (Facsimile)

 Counsel to the Debtors and
 Debtors-in-Possession

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


     In re:                                                    Chapter 11

     Cinram Group, Inc., et al.,1                              Case No. 17-15258 (VFP)

                            Debtors.                           (Jointly Administered)



     SEVENTEENTH MONTHLY FEE STATEMENT OF LOWENSTEIN SANDLER LLP
            FOR THE PERIOD OF JULY 1, 2018 THROUGH JULY 31, 2018


              Lowenstein Sandler LLP, counsel to the above-captioned debtors and debtors-in-

 possession (collectively, the “Debtors”), submits this seventeenth monthly fee statement for the

 period of July 1, 2018 through July 31, 2018 (the “Seventeenth Fee Statement”) pursuant to the

 Court’s Administrative Fee Order Establishing Certain Procedures for Allowance of Interim

 Compensation and Reimbursement of Expenses of Professionals Retained By Order of this

 Court, dated May 12, 2017 [Docket No. 93] (the “Administrative Order”). Pursuant to the

 Administrative Order, responses to the Seventeenth Fee Statement, if any, are due by October 11,

 2018.

 1
   The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
 as follows: Cinram Group, Inc. (0588), Cinram Property Group, LLC (9738), and Cinram Operations, Inc. (7377).
 The Debtors conduct all of their business affairs out of offices located at 220 South Orange Avenue, Livingston,
 New Jersey 07039.
 33621/3
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 Dated: September 27, 2018

                                         Respectfully submitted,

                                         LOWENSTEIN SANDLER LLP

                                         /s/ Mary E. Seymour
                                         Kenneth A. Rosen, Esq.
                                         Mary E. Seymour, Esq.
                                         Michael Savetsky, Esq.
                                         Michael Papandrea, Esq.
                                         One Lowenstein Drive
                                         Roseland, New Jersey 07068
                                         (973) 597-2500 (Telephone)
                                         (973) 597-2400 (Facsimile)

                                         Counsel to the Debtors and Debtors-in-Possession




                                            2
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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY


                          D.N.J. LBR 2016-1, FEE APPLICATION COVER SHEET



IN RE:            Cinram Group, Inc., et al.           APPLICANT:           Lowenstein Sandler LLP
CASE NO.: 17-15258 (VFP)                               CLIENT:              Chapter 11 Debtors
CHAPTER: 11                                            CASE FILED:          March 17, 2017



COMPLETION AND SIGNING OF THIS FORM CONSTITUTES A CERTIFICATION UNDER
         PENALTY OF PERJURY, PURSUANT TO 28 U.S.C. SECTION 1746

                                  RETENTION ORDER(S) ATTACHED

  SEVENTEENTH MONTHLY FEE STATEMENT OF LOWENSTEIN SANDLER LLP
         FOR THE PERIOD OF JULY 1, 2018 THROUGH JULY 31, 2018


                                                 SECTION I
                                               FEE SUMMARY


                                                               FEES                      EXPENSES

TOTAL PREVIOUS FEES REQUESTED                              $ 1,807,473.50            $23,467.90

TOTAL FEES ALLOWED TO DATE:                                $          -0-            $        -0-
TOTAL RETAINER (IF APPLICABLE)                             $ 166,390.75              $        -0-
TOTAL HOLDBACK (IF APPLICABLE)                             $ 361,494.70              $        -0-
TOTAL RECEIVED BY APPLICANT                                $ 482,373.40              $ 14,305.30



     FEE TOTALS - PAGE 2                                  $ 48,008.00
     DISBURSEMENTS TOTALS - PAGE 2                        $     75.65
     TOTAL FEE APPLICATION                                $ 48,083.65
     MINUS 20% HOLDBACK                                   $ 9,601.60
     AMOUNT SOUGHT AT THIS TIME                           $ 38,482.05



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                                    Year
 Name of Professional                              Title/Department      Hours         Rate             Fee
                                   Admitted

 Buechler, Bruce                     1987          Partner/Bankruptcy       0.30        $860.00          $258.00

 Rosen, Kenneth A.                   1979          Partner/Bankruptcy       4.10      $1,070.00        $4,387.00

 Seymour, Mary E.                    1994          Partner/Bankruptcy      10.80        $770.00        $8,316.00

 Savetsky, Michael                   2005         Counsel/Bankruptcy       48.30        $690.00       $33,327.00

 Claussen, Diane                       N/A        Paralegal/Bankruptcy      2.00       $260.00           $520.00

 Lawler, Elizabeth B.                  N/A        Paralegal/Bankruptcy      5.00        $240.00        $1,200.00

                      Total Fees                                           70.50                      $48,008.00

       Attorney Blended Rate                                                            $728.94



                                             SECTION II
                                         SUMMARY OF SERVICES

SERVICES RENDERED                                                                  HOURS             FEE

Case Administration                                                                     2.80            $1,768.00
Asset Analysis and Recovery                                                             1.40             $966.00
Meetings of and Communication with Creditors                                            1.00             $690.00
Fee/Employment Applications                                                             4.70            $1,128.00
Employment and Retention Applications - Others                                          0.10               $69.00
Fee Applications and Invoices - Others                                                  0.30               $72.00
Other Contested Matters (excluding assumption/rejection motions)                        1.10            $1,177.00
Business Operations                                                                     0.80             $552.00
Claims Administration and Objections                                                   38.00           $26,944.00
Plan and Disclosure Statement (including Business Plan)                                17.60           $13,365.00
Court Hearings                                                                          2.70            $1,277.00

                                                          SERVICE TOTALS               70.50           $48,008.00



                                          SECTION III
                                    SUMMARY OF DISBURSEMENTS

                                                                                              AMOUNT

Bulk rate/special postage                                                                                  $27.45
Computerized legal research                                                                                $48.20
                                                     TOTAL DISBURSEMENTS                                   $75.65




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                                              SECTION IV
                                             CASE HISTORY

             (NOTE: Items 3 - 6 are not applicable to applications under 11 U.S.C. §506)


 (1)   DATE CASE FILED: March 17, 2017

 (2)   CHAPTER UNDER WHICH CASE WAS COMMENCED: 11

 (3)   DATE OF RETENTION: April 25, 2017, effective as of March 17, 2017 [Docket No. 84].
       See Order attached.

 (4)   SUMMARIZE IN BRIEF THE BENEFITS TO THE ESTATE AND ATTACH
       SUPPLEMENTS AS NEEDED2:

              a) Lowenstein Sandler spent significant time: (i) attending to mediation
                 issues, including providing updates to Judge Kaplan; (ii) engaging in
                 extensive settlement negotiations with SIR Properties Trust (“SIR”) and
                 Technicolor; (iii) developing a term sheet to address the claims asserted by
                 SIR; and (iv) developing a settlement proposal regarding Technicolor’s
                 claims;

              b) Lowenstein Sandler conferred with the Debtors regarding plan issues,
                 including possible funding sources, plan options, distribution issues, and
                 claim settlements;

              c) Lowenstein Sandler prepared a consent order resolving claims asserted by
                 Sentry Insurance Company, and a motion to approve same;

              d) Lowenstein Sandler prepared for and attended a status conference
                 regarding exclusivity and the claims mediation process;

              e) Lowenstein Sandler prepared and filed its twelfth and thirteenth monthly
                 fee statements;

              f) Lowenstein Sandler assisted with the preparation of the Debtors’ Monthly
                 Operating Reports;

              g) Lowenstein Sandler performed all other legal services for the Debtors that
                 were necessary and proper in these proceedings and in furtherance of the
                 Debtors’ needs.




 2
  The following summary is intended only to highlight the general categories of services performed by Lowenstein
 Sandler on behalf of the Debtors and the benefits rendered to the Debtors’ estates. The summary is not intended to
 set forth each of the professional services provided by Lowenstein Sandler during the fee period.

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 (5)   ANTICIPATED DISTRIBUTION TO CREDITORS:
        (A)   ADMINISTRATION EXPENSES:                          (unknown at this time)
        (B)   SECURED CREDITORS:                                (unknown at this time)
        (C)   PRIORITY CREDITORS:                               (unknown at this time)
        (D)   GENERAL UNSECURED CREDITORS:                      (unknown at this time)

 (6)   FINAL DISPOSITION OF CASE AND PERCENTAGE OF DIVIDEND PAID TO
       CREDITORS (IF APPLICABLE): Final disposition of case and dividend are unknown at
       this time.

       I certify under penalty of perjury that the foregoing is true and correct.


 Dated: September 27, 2018                              /s/ Mary E. Seymour_________
                                                           Mary E. Seymour, Esq.




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 Case
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1


LOWENSTEIN SANDLER LLP
Kenneth A. Rosen, Esq.                                                                    Order Filed on April 25, 2017
                                                                                          by Clerk
Mary E. Seymour, Esq.                                                                     U.S. Bankruptcy Court
Michael Savetsky, Esq.                                                                    District of New Jersey
Michael Papandrea, Esq.
65 Livingston Avenue
Roseland, New Jersey 07068
(973) 597-2500 (Telephone)
(973) 597-2400 (Facsimile)

Proposed Counsel to the Debtors and
Debtors-in-Possession


In re:                                                                       Chapter 11

Cinram Group, Inc., et al.1                                                  Case No. 17- 15258 (VFP)

                            Debtors.                                         (Jointly Administered)


              ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF
               LOWENSTEIN SANDLER LLP AS COUNSEL TO THE DEBTORS
                       EFFECTIVE AS OF THE PETITION DATE

                     The relief set forth on the following pages, numbered two (2) through four (3), is

  hereby ORDERED.



   DATED: April 25, 2017




  1
   The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are as follows:
  Cinram Group, Inc. (0588), Cinram Property Group, LLC (9738), and Cinram Operations, Inc. (7377). The Debtors conduct all
  of their business affairs out of offices located at 220 South Orange Avenue, Livingston, New Jersey 07039.
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  04/12/2017 200617069.1
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                                                               3
 Page:     2
 Debtors: Cinram Group, Inc., et al.
 Case No.: 17-15258 ( )
 Caption: Order Authorizing the Employment and Retention of Lowenstein Sandler LLP as
           Counsel to the Debtors Effective as of the Petition Date
 ______________________________________________________________________________
                      Upon consideration of the application (the “Application”)2 of the above captioned

 debtors and debtors-in-possession (collectively, the “Debtors”) for entry of an order authorizing

 the employment and retention of Lowenstein Sandler LLP (“Lowenstein Sandler”) as counsel to

 the Debtors, effective as of the Petition Date (March 17, 2017), and upon consideration of the

 Application and the Seymour Declaration; and the Court being satisfied, based on

 representations made in the Application that (i) Lowenstein Sandler has no connection with the

 Debtors, their creditors, any other party in interest, their current respective attorneys or

 professionals, the United States Trustee or any person employed in the Office of the United

 States Trustee, and does not represent any entity having an adverse interest to the Debtors in

 connection with the Debtors’ Chapter 11 Cases, except as set forth in the Seymour Declaration;

 (ii) Lowenstein Sandler is a “disinterested person” as that phrase is defined in section 101(14) of

 the Bankruptcy Code, (iii) neither Lowenstein Sandler, nor its professionals, have any

 connection with the Debtors, their creditors or any other party in interest; and (iv) Lowenstein

 Sandler’s employment is necessary and in the best interest of the Debtors; and the Court having

 jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

 Reference to the Bankruptcy Court Under Title 11 of the United States District Court for the

 District of New Jersey, entered on July 23, 1984, and amended on September 18, 2012; and

 venue being proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a

 core proceeding pursuant to 28 U.S.C. § 157(b)(2); and notice of the Application being sufficient

 under the circumstances; and it appearing that no other or further notice need be provided; and

 after due deliberation and sufficient cause appearing therefor;

                      IT IS HEREBY ORDERED THAT:

                      1.        The Application is GRANTED as set forth herein.




 2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Application.
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                                                               3
 Page:     3
 Debtors: Cinram Group, Inc., et al.
 Case No.: 17-15258 ( )
 Caption: Order Authorizing the Employment and Retention of Lowenstein Sandler LLP as
           Counsel to the Debtors Effective as of the Petition Date
 ______________________________________________________________________________
              2.      The Debtors are authorized to employ and to retain Lowenstein Sandler,

 effective as of the Petition Date, to serve as the Debtors’ counsel in these Chapter 11 Cases.

                3.      Lowenstein Sandler shall be compensated as set forth in the Application in

 accordance with sections 330 and 331 of the Bankruptcy Code, the applicable provisions of the

 Bankruptcy Rules, the Local Rules, and any orders entered in these cases governing professional

 compensation and reimbursement for services rendered and charges and disbursements incurred.

 Lowenstein Sandler also intends to make a reasonable effort to comply with the U.S. Trustee’s

 requests for information and disclosures as set forth in the Appendix A Guidelines, both in

 connection with the Application and interim and final fee applications to be filed by Lowenstein

 Sandler in these Chapter 11 Cases.

                4.      The requirement set forth in Local Rule 9013-1(a)(3) that any motion or

 other request for relief be accompanied by a memorandum of law is hereby deemed satisfied by

 the contents of the Application or otherwise waived

                5.      The Debtors are authorized to take all actions necessary to effectuate the

 relief granted pursuant to this Order.

                6.      This Court shall retain exclusive jurisdiction to hear and decide any and all

 disputes related to or arising from the implementation, interpretation and enforcement of this

 Order.




                                                 -3-
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Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 17−15258−VFP
                                         Chapter: 11
                                         Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Cinram Group, Inc.                                       Cinram Operations, Inc.
   fka Cinram Acquisition, Inc.
   Attn: Glenn Langberg, CEO
   220 South Orange Ave
   Livingston, NJ 07039
Social Security No.:

Employer's Tax I.D. No.:
  32−0380588




                                     NOTICE OF JUDGMENT OR ORDER
                                       Pursuant to Fed. R. Bankr. P. 9022

      Please be advised that on April 26, 2017, the court entered the following judgment or order on the court's
docket in the above−captioned case:

Document Number: 84 − 69
Order Granting Application to Employ Lowenstein Sandler LLP as counsel for debtor (Related Doc # 69). Service of
notice of the entry of this order pursuant to Rule 9022 was made on the appropriate parties. See BNC Certificate of
Notice. Signed on 4/25/2017. (jf)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: April 26, 2017
JAN: jf

                                                                    Jeanne Naughton
                                                                    Clerk
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                              EXHIBIT A
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                                                         EXHIBIT A
                       Professional Services rendered by Lowenstein Sandler LLP, through July 31, 2018

In re: Chapter 11

I. SUMMARY OF TIME CHARGES AND HOURLY RATES

                                    Year                                                           Hours      Hourly
Name of Professional               Admitted                 Title/Department                       Spent        Rate        Charge

Buechler, Bruce                      1987                  Partner/Bankruptcy                        0.30    $860.00        $258.00

Rosen, Kenneth A.                    1979                  Partner/Bankruptcy                        4.10   $1,070.00      $4,387.00

Seymour, Mary E.                     1994                  Partner/Bankruptcy                       10.80    $770.00       $8,316.00

Savetsky, Michael                    2005                  Counsel/Bankruptcy                       48.30    $690.00      $33,327.00

Claussen, Diane                       N/A                 Paralegal/Bankruptcy                       2.00    $260.00        $520.00

Lawler, Elizabeth B.                  N/A                 Paralegal/Bankruptcy                       5.00    $240.00       $1,200.00

                               TOTAL FEES                                                           70.50                 $48,008.00

                       Attorney Blended Rate                                                                                $728.94




                                ALL DETAILED INFORMATION IS CONSIDERED TO BE PRIVILEGED AND CONFIDENTIAL.
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Cinram Group, Inc.                                                                                                      Page 2
Invoice No.: 875115                                                                                         September 27, 2018

TIME DETAIL:

    Code         Date        Timekeeper                          Time Narrative                          Hours        Amount

 B100 - Administration


 B110 Case Administration


 B110           07/06/18         MS         E-mails to K. Rosen and M. Seymour re: proposed tolling       0.10         $69.00
                                            agreement

 B110           07/09/18         MS         Review e-mail from C. Ingato re: request for tolling          0.10         $69.00
                                            agreement

 B110           07/09/18         MS         Call with W. Stapleton re: Technicolor request for tolling    0.30        $207.00
                                            agreement

 B110           07/10/18         MS         E-mails with W. Stapleton re: Technicolor request for         0.10         $69.00
                                            tolling agreement

 B110           07/10/18         MS         E-mails with C. Ingato re: Technicolor request for tolling    0.20        $138.00
                                            agreement

 B110           07/10/18         MS         E-mails with K. Rosen re: Technicolor request for tolling     0.10         $69.00
                                            agreement

 B110           07/11/18        MES         Confer with M. Savetsky re: case status and call with W.      0.10         $77.00
                                            Stapleton

 B110           07/11/18         MS         Confer with M. Seymour re: case status and call with W.       0.10         $69.00
                                            Stapleton

 B110           07/11/18         MS         Draft e-mail to W. Stapleton re: status call                  0.10         $69.00


 B110           07/23/18         DC         Tend to filing and service of Monthly Operating Reports       0.40        $104.00
                                            for June 2018

 B110           07/25/18         MS         E-mails with D. Claussen re: adjournment requests             0.10         $69.00


 B110           07/25/18         MS         Revise adjournment requests                                   0.10         $69.00


 B110           07/25/18         MS         E-mails with M. Erbeck and R. Jareck re: adjournment          0.10         $69.00
                                            requests

 B110           07/25/18         MS         E-mail to R. Jareck and M. Erbeck re: Court status            0.20        $138.00
                                            conference

 B110           07/25/18         MS         E-mail to G. Langberg re: Court status conference             0.40        $276.00


 B110           07/30/18         MS         Review tolling agreements between Technicolor and             0.10         $69.00
                                            non-Debtors

                            ALL DETAILED INFORMATION IS CONSIDERED TO BE PRIVILEGED AND CONFIDENTIAL.
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Cinram Group, Inc.                                                                                                        Page 3
Invoice No.: 875115                                                                                           September 27, 2018

    Code          Date      Timekeeper                       Time Narrative                                Hours        Amount
 B110           07/30/18       MS          Call with M. Seymour re: proposed tolling agreements             0.10         $69.00


 B110           07/31/18        MS         E-mails with W. Stapleton re: tolling agreements                 0.10         $69.00




                                                                  Total B110 - Case Administration          2.80      $1,768.00


 B120 Asset Analysis and Recovery


 B120           07/08/18        MS         Review draft proposed search terms and date ranges for           1.40        $966.00
                                           Rule 2004 requests



                                                        Total B120 - Asset Analysis and Recovery            1.40        $966.00


 B150 Meetings of and Communication with Creditors


 B150           07/03/18        MS         E-mails with C. Ingato re: Technicolor request for a             0.40        $276.00
                                           tolling agreement

 B150           07/06/18        MS         Call with J. Testa and C. Ingato re: request for tolling         0.40        $276.00
                                           agreement and settlement discussions

 B150           07/06/18        MS         E-mails with W. Stapleton re: proposed tolling agreement         0.10         $69.00


 B150           07/07/18        MS         E-mails with J. Testa re: claims settlement discussions          0.10         $69.00




                                              Total B150 - Meetings of and Communication with               1.00        $690.00
                                                                                   Creditors

 B160 Fee/Employment Applications


 B160           07/02/18       EBL         Prepare Lowenstein Sandler's February 2018 monthly fee           1.40        $336.00
                                           statement and related documents

 B160           07/03/18       EBL         Finalize (.2); efile (.2); prepare service (.3); prepare         1.00        $240.00
                                           certification of service (.2); efile certification of service
                                           (.1) re: LS Twelfth Monthly Fee Statement

 B160           07/12/18       EBL         Prepare LS March monthly fee statement and related               1.20        $288.00
                                           documents

 B160           07/13/18       EBL         Prepare CNO to LS Eleventh Monthly Fee Statement                 0.20         $48.00



                           ALL DETAILED INFORMATION IS CONSIDERED TO BE PRIVILEGED AND CONFIDENTIAL.
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Cinram Group, Inc.                                                                                                        Page 4
Invoice No.: 875115                                                                                           September 27, 2018

    Code          Date       Timekeeper                           Time Narrative                           Hours        Amount
 B160           07/13/18        EBL         Finalize (.1) and e-file (.2) Lowenstein Sandler's              0.90        $216.00
                                            thirteenth monthly fee statement (March 2018); prepare
                                            service (.3); prepare and e-file certificate of service (.3)



                                                       Total B160 - Fee/Employment Applications             4.70      $1,128.00


 B165 Employment and Retention Applications - Others


 B165           07/11/18         MS         E-mails with J. Catalano re: payment of professional fees       0.10         $69.00




                                            Total B165 - Employment and Retention Applications              0.10         $69.00
                                                                                     - Others

 B175 Fee Applications and Invoices - Others


 B175           07/11/18        EBL         Review and respond to inquiry from M. Savetsky re: fee          0.30         $72.00
                                            apps and CNOS filed by EisnerAmper and Cole Shotz to
                                            date



                                               Total B175 - Fee Applications and Invoices - Others          0.30         $72.00


 B190 Other Contested Matters (excluding assumption/rejection motions)


 B190           07/19/18        KAR         Conference call with Judge Kaplan and Technicolor re:           1.10      $1,177.00
                                            settlement



                                                 Total B190 - Other Contested Matters (excluding            1.10      $1,177.00
                                                                   assumption/rejection motions)

 B200 - Operations


 B210 Business Operations


 B210           07/20/18         MS         Review draft MORs for June for each Debtor                      0.50        $345.00


 B210           07/20/18         MS         E-mails with J. Olsakovsky re: June MORs                        0.10         $69.00


 B210           07/23/18         MS         Review revised MORs for June 2018 for filing                    0.20        $138.00



                            ALL DETAILED INFORMATION IS CONSIDERED TO BE PRIVILEGED AND CONFIDENTIAL.
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Cinram Group, Inc.                                                                                                       Page 5
Invoice No.: 875115                                                                                          September 27, 2018

    Code         Date       Timekeeper                            Time Narrative                          Hours        Amount


                                                                   Total B210 - Business Operations        0.80        $552.00


 B300 - Claims and Plan


 B310 Claims Administration and Objections


 B310           07/02/18        MS           Draft e-mail to G. Langberg re: SIR claims settlement         0.10         $69.00
                                             discussions

 B310           07/02/18        MS           Draft e-mail to J. Testa re: Technicolor claims settlement    0.10         $69.00
                                             discussions

 B310           07/02/18        MS           E-mail with K. Rosen re: Technicolor claims settlement        0.10         $69.00
                                             discussions

 B310           07/03/18       MES           Confer with M. Savetsky re: negotiations with                 0.10         $77.00
                                             Technicolor

 B310           07/03/18        MS           Call with G. Langberg re: negotiations with Technicolor       0.50        $345.00
                                             to resolve claims

 B310           07/03/18        MS           Confer with M. Seymour re: negotiations with                  0.10         $69.00
                                             Technicolor

 B310           07/03/18        MS           Call with J. Testa re: settlement discussions re:             0.40        $276.00
                                             Technicolor claims

 B310           07/05/18        MS           Draft response to term sheet from Technicolor re:             1.90      $1,311.00
                                             settlement discussions

 B310           07/05/18        MS           E-mails with K. Rosen re: settlement discussions with         0.30        $207.00
                                             Technicolor and SIR

 B310           07/05/18        MS           E-mails with G. Langberg re: settlement discussions with      0.10         $69.00
                                             Technicolor

 B310           07/06/18        MS           Call with G. Langberg re: response to Technicolor term        0.40        $276.00
                                             sheet

 B310           07/09/18       KAR           Exchange e-mails with Judge Kaplan re: Technicolor            0.40        $428.00
                                             status and re: documentation for SIR deal

 B310           07/09/18       MES           Call with M. Savetsky re: SIR claim term sheet                0.30        $231.00


 B310           07/09/18        MS           Call with M. Seymour re: SIR claim term sheet                 0.30        $207.00


 B310           07/09/18        MS           Review/revise term sheet for proposed resolution of SIR       0.90        $621.00
                                             claims


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    Code          Date      Timekeeper                        Time Narrative                           Hours        Amount
 B310           07/09/18       MS          E-mails with K. Rosen re: SIR claim settlement proposal      0.20        $138.00


 B310           07/09/18        MS         Review SIR claim settlement proposal                         0.20        $138.00


 B310           07/09/18        MS         Review and finalize response to Technicolor term sheet       1.20        $828.00


 B310           07/09/18        MS         Review claims register                                       0.10         $69.00


 B310           07/10/18       MES         Confer with M. Savetsky re: draft settlement term sheet      0.90        $693.00
                                           wih SIR and revisions thereto

 B310           07/10/18        MS         E-mails with K. Rosen re: claims mediation issues            0.20        $138.00


 B310           07/10/18        MS         Confer with M. Seymour re: draft settlement term sheet       0.90        $621.00
                                           with SIR and revisions thereto

 B310           07/10/18        MS         E-mail to G. Langberg re: revised term sheet for proposed    0.20        $138.00
                                           resolution of SIR claims

 B310           07/10/18        MS         Review and further revise term sheet for proposed            1.10        $759.00
                                           resolution of SIR claims

 B310           07/10/18        MS         Call with J. Testa re: claim settlement discussions with     0.20        $138.00
                                           Technicolor and mediation

 B310           07/10/18        MS         E-mails with G. Langberg re: claim settlement                0.30        $207.00
                                           discussions with Technicolor

 B310           07/11/18        MS         Draft and revise e-mail to Judge Kaplan re: mediation        0.70        $483.00
                                           issues and status of settlement discussions

 B310           07/11/18        MS         Call with G. Langberg re: letters of credit                  0.10         $69.00


 B310           07/11/18        MS         E-mails with K. Rosen re: update to Judge Kaplan             0.20        $138.00


 B310           07/11/18        MS         E-mails with M. Seymour re: update to Judge Kaplan           0.10         $69.00


 B310           07/11/18        MS         Draft e-mail to J. Testa re: settlement discussions          0.20        $138.00


 B310           07/12/18        MS         E-mails with J. Catalano re: Bank Direct claims              0.10         $69.00


 B310           07/12/18        MS         Review claims register and summary                           0.50        $345.00


 B310           07/12/18        MS         Call with M. Seymour re: claim totals                        0.10         $69.00


 B310           07/12/18        MS         E-mails with G. Langberg and C. Ingato re: workers'          0.10         $69.00
                                           compensation claims
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    Code         Date       Timekeeper                         Time Narrative                           Hours        Amount

 B310           07/13/18        MS         Confer with K. Rosen re: status of claim settlement           0.10         $69.00
                                           discussions

 B310           07/13/18        MS         E-mails with J. Testa re: settlement discussions              0.10         $69.00


 B310           07/13/18        MS         E-mail to Judge Kaplan re: claims mediation                   0.10         $69.00


 B310           07/16/18        MS         E-mails with Judge Kaplan re: mediation call with             0.10         $69.00
                                           Technicolor

 B310           07/17/18       MES         Confer with M. Savetsky re: term sheet with SIR               0.20        $154.00


 B310           07/17/18        MS         Review and revise draft settlement term sheet with SIR        0.60        $414.00


 B310           07/17/18        MS         Draft e-mail to Judge Kaplan re: claims mediation issues      0.40        $276.00


 B310           07/17/18        MS         Confer with M. Seymour re: term sheet with SIR                0.20        $138.00


 B310           07/17/18        MS         E-mail to J. Testa re: settlement proposal; review e-mails    0.10         $69.00
                                           re: call with mediator

 B310           07/18/18       KAR         Telephone conference with M. Seymour re: settling with        0.30        $321.00
                                           Technicolor

 B310           07/18/18       KAR         Telephone conference with G. Langberg re: Technicolor         0.30        $321.00


 B310           07/18/18       MES         Review e-mail from M. Savetsky re: workers'                   0.20        $154.00
                                           compensation claims

 B310           07/18/18        MS         E-mails with G. Langberg re: call with Judge Kaplan and       0.20        $138.00
                                           next steps

 B310           07/18/18        MS         Call with G. Langberg re: Technicolor claims and              0.40        $276.00
                                           mediation issues

 B310           07/18/18        MS         E-mail to M. Seymour re: workers' compensation claims         0.20        $138.00


 B310           07/18/18        MS         Review Technicolor's response to settlement                   0.30        $207.00
                                           offer/parameters

 B310           07/18/18        MS         Call with G. Langberg re: Technicolor's response to           0.10         $69.00
                                           settlement offer

 B310           07/18/18        MS         Draft e-mail to Judge Kaplan re: claims mediation issues      0.10         $69.00


 B310           07/19/18       KAR         Pre-call with Judge Kaplan re: Technicolor settlement         0.50        $535.00
                                           proposal

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    Code          Date      Timekeeper                        Time Narrative                            Hours        Amount
 B310           07/19/18       MS          E-mails with G. Langberg re: settlement discussions with      0.10         $69.00
                                           Technicolor

 B310           07/19/18        MS         E-mails with J. Testa re: settlement discussions with         0.10         $69.00
                                           Technicolor

 B310           07/19/18        MS         Confer with M. Seymour re: claim settlement discussions       0.10         $69.00
                                           and next steps

 B310           07/19/18        MS         Call with G. Langberg re: claim settlement discussions        0.10         $69.00
                                           and next steps

 B310           07/19/18        MS         Draft e-mail to M. Erbeck re: claim settlement                0.90        $621.00
                                           discussions

 B310           07/19/18        MS         Call with Judge Kaplan, K. Rosen and M. Seymour re:           0.50        $345.00
                                           settlement discussions

 B310           07/20/18       MES         E-mails with G. Langberg and M. Savetsky re: proposal         0.20        $154.00
                                           to settle Sentry claims

 B310           07/20/18        MS         Draft consent order resolving Sentry claims                   1.70      $1,173.00


 B310           07/20/18        MS         Review proposal re: settlement of Sentry claims               0.10         $69.00


 B310           07/20/18        MS         Call with G. Langberg re: proposal to settle Sentry claims    0.20        $138.00


 B310           07/20/18        MS         E-mails with G. Langberg and M. Seymour re: proposal          0.20        $138.00
                                           to settle Sentry claims

 B310           07/20/18        MS         Review Sentry claims                                          0.20        $138.00


 B310           07/23/18       MES         Confer with M. Savetsky re: Sentry claims and e-mail to       0.10         $77.00
                                           M. Seymour re: draft consent order

 B310           07/23/18        MS         Draft application to approve consent order resolving          3.60      $2,484.00
                                           Sentry claims

 B310           07/23/18        MS         Review and revise draft consent order resolving Sentry        0.70        $483.00
                                           claims

 B310           07/23/18        MS         Confer with M. Seymour re: Sentry claims and e-mail to        0.10         $69.00
                                           M. Seymour re: draft consent order

 B310           07/23/18        MS         E-mail to W. Stapleton re: claim settlement discussions       0.10         $69.00
                                           with Technicolor

 B310           07/23/18        MS         E-mails with W. Stapleton re: Technicolor letters of          0.40        $276.00
                                           credit

 B310           07/25/18       MES         Confer with M. Savetsky re: workers' compensation             0.40        $308.00
                                           claims and strategy

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    Code          Date      Timekeeper                           Time Narrative                         Hours        Amount
 B310           07/25/18       MES         Participate in call (partial) with G. Langberg, M.            0.40        $308.00
                                           Savetsky re: workers' compensation claims issues

 B310           07/25/18        MS         E-mails with J. Testa re: settlement discussions and          0.20        $138.00
                                           telephonic status conference

 B310           07/25/18        MS         E-mails with J. Catalano re: Pennsylvania letter of credit    0.10         $69.00


 B310           07/25/18        MS         Revise draft consent order resolving Sentry claims            0.10         $69.00


 B310           07/25/18        MS         E-mail to G. Langberg re: draft consent order resolving       0.10         $69.00
                                           Sentry claims

 B310           07/25/18        MS         Calls with G. Langberg and M. Seymour (partial) re:           0.80        $552.00
                                           workers compensation claim issues

 B310           07/25/18        MS         Call with G. Langberg re: claims settlement discussions       0.50        $345.00
                                           with Technicolor

 B310           07/25/18        MS         Confer with M. Seymour re: workers' compensation              0.40        $276.00
                                           claims and strategy

 B310           07/25/18        MS         E-mails with M. Seymour re: Sentry claims                     0.10         $69.00


 B310           07/26/18        DC         Review Withdrawal of Claims by Bank Direct and update         0.20         $52.00
                                           Master Claims Spreadsheet

 B310           07/26/18        MS         Draft detailed status e-mail to Judge Kaplan re:              1.60      $1,104.00
                                           Technicolor claims mediation

 B310           07/26/18        MS         E-mails with J. Catalano re: workers' compensation            0.10         $69.00
                                           claims

 B310           07/26/18        MS         E-mail to G. Langberg re: follow up with Judge Kaplan         0.10         $69.00


 B310           07/27/18        MS         Call with G. Langberg re: claim settlement discussions        0.40        $276.00


 B310           07/27/18        MS         Call with J. Testa and G. Langberg re: settlement             0.50        $345.00
                                           discussions

 B310           07/29/18        MS         Review and revise e-mail to Judge Kaplan re: claims           0.70        $483.00
                                           settlement issues

 B310           07/30/18       MES         Confer with M. Savetsky re: discussions with G.               0.20        $154.00
                                           Langberg re: claim settlement

 B310           07/30/18        MS         E-mail to J. Testa re: settlement proposal to Technicolor     0.10         $69.00


 B310           07/30/18        MS         Call with M. Erbeck re: claim settlement discussions          0.40        $276.00


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 B310           07/30/18       MS          Confer with M. Seymour re: discussions with G.               0.40        $276.00
                                           Langberg re: claim settlement

 B310           07/30/18        MS         Call with Judge Kaplan re: settlement proposal to            0.10         $69.00
                                           Technicolor

 B310           07/30/18        MS         Further revise e-mail to Judge Kaplan re: claims             1.40        $966.00
                                           settlement issues

 B310           07/30/18        MS         Calls with G. Langberg re: claims settlement strategy        0.50        $345.00


 B310           07/30/18        MS         Calls with G. Langberg re: settlement proposal to            0.30        $207.00
                                           Technicolor

 B310           07/30/18        MS         Further revise settlement proposal to Technicolor            0.40        $276.00




                                             Total B310 - Claims Administration and Objections         38.00     $26,944.00


 B320 Plan and Disclosure Statement (including Business Plan)


 B320           07/05/18        KAR        Telephone conference with G. Langberg re: scope of           0.20        $214.00
                                           releases in settlement proposals

 B320           07/09/18        MS         Call with G. Langberg re: claim and plan issues              0.30        $207.00


 B320           07/11/18        KAR        Telephone conference with G. Langberg re: release issues     0.20        $214.00


 B320           07/12/18        MES        Call with M. Savetsky, W. Stapleton re: Technicolor          0.80        $616.00
                                           settlement and plan funding

 B320           07/12/18        MES        Review and revise settlement term sheet for SIR claim        0.60        $462.00
                                           resolution for Judge Kaplan's review

 B320           07/12/18        MS         Draft e-mails to W. Stapleton re: claims and plan issues     0.70        $483.00


 B320           07/12/18        MS         Call with W. Stapleton and M. Seymour re: plan issues        0.80        $552.00


 B320           07/12/18        MS         Call with G. Langberg re: plan discussions                   0.40        $276.00


 B320           07/13/18        MS         E-mails with W. Stapleton re: plan and claim settlement      0.40        $276.00
                                           matters

 B320           07/13/18        MS         Call with G. Langberg re: plan issues and Toshiba claim      0.20        $138.00


 B320           07/13/18        MS         Call with G. Langberg re: plan issues                        0.60        $414.00

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 B320           07/16/18        MS         E-mails with G. Langberg and W. Stapleton re: plan           0.20        $138.00
                                           discussions

 B320           07/17/18        BB         Office conference with M. Seymour and M. Savetsky to         0.30        $258.00
                                           discuss plan options and strategy

 B320           07/17/18       KAR         Telephone conference with M. Seymour re: plan                0.60        $642.00
                                           distributions (.2); review chart from G. Langberg (.2);
                                           draft comments re: amended Plan of Reorganization
                                           distributions (.2)

 B320           07/17/18       MES         Call with M. Savetsky re: revised settlement term sheet      0.20        $154.00
                                           with SIR and plan discussions

 B320           07/17/18       MES         Review and revise draft term sheet and settlmeent            0.60        $462.00
                                           proposale with SIR

 B320           07/17/18       MES         Call with K. Rosen re: plan distribution issues              0.20        $154.00


 B320           07/17/18       MES         Conference with W. Stapleton, M. Savetsky, G. Langberg       0.90        $693.00
                                           re: possible funding sources for plan, mediation issues
                                           with Technicolor

 B320           07/17/18       MES         Office conference with B. Buechler and M. Savetsky to        0.30        $231.00
                                           discuss plan options and strategy

 B320           07/17/18        MS         Confer with B. Buechler and M. Seymour re: plan issues       0.30        $207.00


 B320           07/17/18        MS         Call with W. Stapleton, M. Seymour and G. Langberg re:       0.90        $621.00
                                           plan issues

 B320           07/17/18        MS         E-mail to W. Stapleton re: plan and claim issues             0.10         $69.00


 B320           07/17/18        MS         Call with M. Seymour re: revised settlement term sheet       0.20        $138.00
                                           with SIR and plan discussions

 B320           07/18/18       KAR         Telephone conference with M. Seymour re: Plan of             0.20        $214.00
                                           Reorganization at below 100%

 B320           07/18/18       KAR         Review Technicolor Plan of Reorganization counteroffer       0.30        $321.00


 B320           07/18/18       MES         Prepare for mediation session with Technicolor, Judge        0.60        $462.00
                                           Kaplan and review revised settlement proposal

 B320           07/18/18       MES         Confer with M. Savetsky re: claims and plan issues           0.40        $308.00


 B320           07/18/18        MS         Draft e-mail to W. Stapleton re: plan issues                 0.10         $69.00


 B320           07/18/18        MS         Review claims and plan issues                                0.50        $345.00

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 B320           07/18/18        MS         Confer with M. Seymour re: claims and plan issues            0.40        $276.00


 B320           07/19/18       MES         Participate in mediation session with Judge Kaplan,          1.10        $847.00
                                           Technicolor re: settlement proposal to Technicolor

 B320           07/19/18       MES         Conference call with Judge Kaplan, K. Rosen, G.              0.50        $385.00
                                           Langberg , M. Savetsky in connection with mediation
                                           session with Technicolor

 B320           07/19/18        MS         E-mail to W. Stapleton re: claim settlement and plan         0.10         $69.00
                                           discussions

 B320           07/19/18        MS         E-mails with M. Seymour re: call with W. Stapleton re:       0.10         $69.00
                                           plan discussions

 B320           07/19/18        MS         Call with Judge Kaplan, J. Testa, T. O'Toole, M.             1.10        $759.00
                                           Seymour and G. Langberg re: mediation of Technicolor's
                                           claims

 B320           07/19/18        MS         Call with G. Langberg and W. Stapleton re: claim             0.60        $414.00
                                           settlement and plan discussions

 B320           07/24/18       MES         Conferences (3) with M. Savetsky, K. Rosen re:               0.40        $308.00
                                           Technicolor settlement proposal and mediation session

 B320           07/26/18        MS         E-mails with W. Stapleton re: mediation status               0.30        $207.00


 B320           07/31/18       MES         Review multiple emails re: tolliing agreements, revisions    0.20        $154.00
                                           to settlement proposal to SIR

 B320           07/31/18       MES         Participate in status conference with Judge Papalia          0.40        $308.00


 B320           07/31/18       MES         Prepare for status conference with Judge Papalia             0.30        $231.00




                                                     Total B320 - Plan and Disclosure Statement        17.60     $13,365.00
                                                                       (including Business Plan)

 B400 - Bankruptcy-Related Advice


 B430A Court Hearings


 B430A          07/24/18        DC         Discussion with M. Savetsky re: adjournment of July 31       0.20         $52.00
                                           hearing and telephone call to the court re: alternate
                                           hearing date

 B430A          07/25/18        DC         Prepare adjournment requests for July 31 hearing,discuss     0.50        $130.00
                                           same with M. Savetsky and courtroom deputy, and draft
                                           e-mail to chambers re: same
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 B430A          07/25/18        DC         Discussion with courtroom deputy re: request for             0.20         $52.00
                                           telephonic appearances on 7/31/18 and discuss same with
                                           attorneys

 B430A          07/26/18        DC         Coordinate telephonic status conference for July 31, 2018    0.50        $130.00
                                           and confirm courtcall appearance

 B430A          07/31/18       MES         Confer with M. Savetsky re: status conference re:            0.20        $154.00
                                           exclusivity and claims mediation

 B430A          07/31/18        MS         Prepare for status conference re: exclusivity and claims     0.50        $345.00
                                           mediation

 B430A          07/31/18        MS         Telephonic status conference re: exclusivity and claims      0.40        $276.00
                                           mediation

 B430A          07/31/18        MS         Confer with M. Seymour re: status conference re:             0.20        $138.00
                                           exclusivity and claims mediation



                                                                    Total B430A - Court Hearings        2.70      $1,277.00




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Timekeeper Summary (by Task):

      Task            Task Description                                               Hours                 Fees

      B110            Case Administration                                              2.80            $1,768.00

      B120            Asset Analysis and Recovery                                      1.40             $966.00

      B150            Meetings of and Communication with Creditors                     1.00             $690.00

      B160            Fee/Employment Applications                                      4.70            $1,128.00

      B165            Employment and Retention Applications - Others                   0.10              $69.00

      B175            Fee Applications and Invoices - Others                           0.30              $72.00

      B190            Other Contested Matters (excluding assumption/rejection          1.10            $1,177.00
                      motions)
      B210            Business Operations                                              0.80             $552.00

      B310            Claims Administration and Objections                            38.00           $26,944.00

      B320            Plan and Disclosure Statement (including Business Plan)         17.60           $13,365.00

      B430A           Court Hearings                                                   2.70            $1,277.00

                      Total                                                           70.50           $48,008.00




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EXHIBIT B

Actual and necessary disbursements incurred by Lowenstein Sandler LLP

II. Summary of Disbursement Charges

        Bulk rate/special postage                                                                         $27.45

        Computerized legal research                                                                       $48.20

        Total Disbursements                                                                               $75.65


The above charges are based upon time and expense records available on or about the date of the attached letter. Such records are
believed in good faith to be accurate and substantially up to date, but there may be fees and expenses that have not been processed as of
such date which Lowenstein Sandler LLP may submit in the future. Lowenstein Sandler LLP reserves the right to amend this monthly
statement at a later date.




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 DISBURSEMENT DETAIL:

                Date          Description                                                              Amount
                04/19/18      Computerized legal research: Pacer: VENDOR: Pacer                          $0.30
                              Service Center INVOICE#: 3212377-Q22018 DATE:
                              7/13/2018 Date: 04/19/2018 Court: NJBK Pages: 3
                04/20/18      Computerized legal research: Pacer: VENDOR: Pacer                          $0.90
                              Service Center INVOICE#: 4586608-Q2218 DATE:
                              7/16/2018 Date: 04/20/2018 Court: 00PCL Pages: 9
                04/20/18      Computerized legal research: Pacer: VENDOR: Pacer                          $3.10
                              Service Center INVOICE#: 4586608-Q2218 DATE:
                              7/16/2018 Date: 04/20/2018 Court: NJBK Pages: 31
                05/21/18      Computerized legal research: Pacer: VENDOR: Pacer                          $4.60
                              Service Center INVOICE#: 4586608-Q2218 DATE:
                              7/16/2018 Date: 05/21/2018 Court: NCWBK Pages: 46
                05/21/18      Computerized legal research: Pacer: VENDOR: Pacer                         $10.10
                              Service Center INVOICE#: 4586608-Q2218 DATE:
                              7/16/2018 Date: 05/21/2018 Court: NJBK Pages: 101
                05/21/18      Computerized legal research: Pacer: VENDOR: Pacer                          $1.60
                              Service Center INVOICE#: 4586608-Q2218 DATE:
                              7/16/2018 Date: 05/21/2018 Court: NYEDC Pages: 16
                05/21/18      Computerized legal research: Pacer: VENDOR: Pacer                          $0.30
                              Service Center INVOICE#: 4586608-Q2218 DATE:
                              7/16/2018 Date: 05/21/2018 Court: NYSBK Pages: 3
                06/05/18      Computerized legal research: Pacer: VENDOR: Pacer                          $3.00
                              Service Center INVOICE#: 3212377-Q22018 DATE:
                              7/13/2018 Date: 06/05/2018 Court: NJBK Pages: 30
                06/15/18      Computerized legal research: Pacer: VENDOR: Pacer                          $0.90
                              Service Center INVOICE#: 3212377-Q22018 DATE:
                              7/13/2018 Date: 06/15/2018 Court: NJBK Pages: 9
                06/21/18      Computerized legal research: Pacer: VENDOR: Pacer                         $16.90
                              Service Center INVOICE#: 3212377-Q22018 DATE:
                              7/13/2018 Date: 06/21/2018 Court: NJBK Pages: 169
                06/21/18      Computerized legal research: Pacer: VENDOR: Pacer                          $0.60
                              Service Center INVOICE#: 3212377-Q22018 DATE:
                              7/13/2018 Date: 06/21/2018 Court: NYSBK Pages: 6
                06/22/18      Computerized legal research: Pacer: VENDOR: Pacer                          $5.90
                              Service Center INVOICE#: 4586608-Q2218 DATE:
                              7/16/2018 Date: 06/22/2018 Court: NJBK Pages: 59
                              Bulk rate/special postage                                                 $27.45

                              Total Disbursements                                                       $75.65




                           ALL DETAILED INFORMATION IS CONSIDERED TO BE PRIVILEGED AND CONFIDENTIAL.
